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        In the United States Court of Federal Claims
                                 OFFICE OF SPECIAL MASTERS
                                          No. 17-124V
                                      (not to be published)

    ************************* *
                                 *
    JENNIFER L. GOOD,            *
                                 *
                                 *                         Filed: August 3, 2021
                     Petitioner, *
                                 *
    v.                           *
                                 *                         Decision by Stipulation; Damages;
                                 *                         Human Papillomavirus (“HPV”) Vaccine;
    SECRETARY OF HEALTH AND      *                         Myelopathy; Transverse Myelitis (“TM”).
    HUMAN SERVICES,              *
                                 *
                                 *
                     Respondent. *
                                 *
    ************************* *

Thomas L. Knight, Thomas L. Knight & Associates, Wheaton, IL, for Petitioner
Ryan Pyles, U.S. Department of Justice, Washington, DC, for Respondent

                              DECISION ON JOINT STIPULATION1

       On January 27, 2017, Jennifer Good (“Petitioner”) filed a petition, seeking compensation
under the National Vaccine Injury Compensation Program (“the Vaccine Program”).2 Pet., ECF
No. 1. Petitioner alleges she developed neurological injury (myelopathy) and/or transverse
myelitis and as a result of the human papillomavirus (“HPV”) vaccination she received on January
7, 2014. See Stipulation ¶ 2, 4, dated August 3, 2021 (ECF No. 63); see also Petition.

        Respondent denies “that the HPV immunization is the cause of petitioner’s alleged

1
 Although this Decision has been formally designated “not to be published,” it will nevertheless be posted
on the Court of Federal Claims’ website in accordance with the E-Government Act of 2002, 44 U.S.C. §
3501 (2012). This means the Decision will be available to anyone with access to the internet. As
provided by 42 U.S.C. § 300aa-12(d)(4)(B), however, the parties may object to the Decision’s inclusion of
certain kinds of confidential information. Specifically, under Vaccine Rule 18(b), each party has fourteen
days within which to request redaction “of any information furnished by that party: (1) that is a trade secret
or commercial or financial in substance and is privileged or confidential; or (2) that includes medical files
or similar files, the disclosure of which would constitute a clearly unwarranted invasion of privacy.”
Vaccine Rule 18(b). Otherwise, the Decision in its present form will be available. Id.
2
 The Vaccine Program comprises Part 2 of the National Childhood Vaccine Injury Act of 1986, Pub. L.
No. 99-660, 100 Stat. 3755 (codified as amended at 42 U.S.C. §§ 300aa-10–34 (2012)) (hereinafter
“Vaccine Act” or “the Act”). All subsequent references to sections of the Vaccine Act shall be to the
pertinent subparagraph of 42 U.S.C. § 300aa.
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neurological injury, transverse myelitis, and/or any other injury.” See Stipulation ¶ 6. Nonetheless,
both parties, while maintaining their above-stated positions, agreed in a stipulation filed August 3,
2021 that the issues before them can be settled and that a decision should be entered awarding
Petitioner compensation.

        I have reviewed the file, and based upon that review, I conclude that the parties’ stipulation
is reasonable. I therefore adopt it as my decision in awarding damages on the terms set forth
therein.

       The stipulation awards:

    1. Lump Sum Payments

         A lump sum of $168,484.14, representing compensation for satisfaction of the State of
Illinois Medicaid lien, in the form of a check jointly payable to petitioner and

                            Illinois Department of Health and Family Services
                                           Bureau of Collections
                                        Technical Recovery Section
                                              P.O. Box 19174
                                      Springfield, Illinois 62794-9174

       Petitioner agrees to endorse this payment to the State;

       A lump sum of $125,000.00 in the form of a check payable to the Jennifer L. Good U.S.
Grantor Reversionary Trust (the “Trust”); and

       A lump sum of $568,908.00 in the form of a check payable to petitioner, which includes
$168,908.00 for future life care expenses for the first year follow the entry of judgment. This
amount represents compensation for all remaining damages that would be available under 42
U.S.C. § 300aa-15(a).

    2. Annuity

       The remainder of damages shall be paid in the form of an annuity contract, which shall be
purchased as soon as practicable after entry of judgment. Accordingly, pursuant to 42 U.S.C. §
300aa-15(f)(4), I order Respondent to purchase, and take ownership of, an annuity contract,3 as
described below:

       Each Life Insurance Company must meet the following criteria:

       1. Have a minimum of $250,000,000 of capital and surplus, exclusive of any mandatory
          security valuation reserve; and


3
 To satisfy the conditions set forth herein, in Respondent’s discretion, Respondent may purchase one or
more annuity contracts from one or more life insurance companies.
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       2. have one of the following ratings from two of the following rating organizations:
          a) A.M. Best Company: A++, A+, A+g, A+p, A+r, or A+s;
          b) Moody’s Investor Service Claims Paying Rating: Aa3, Aa2, Aa1, or Aaa;
          c) Standard and Poor’s Corporation Insurer Claims-Paying Ability Rating: AA-, AA,
             AA+, or AAA;
          d) Fitch Credit Rating Company, Insurance Company Claims Paying Ability Rating:
             AA-, AA, AA+, or AAA.

The Secretary of Health and Human Services shall purchase an annuity contract from the Life
Insurance Company for the benefit of Petitioner, pursuant to which the Life Insurance Company
will agree to make payments periodically to Petitioner as described in paragraph 10 and 11 of the
attached Stipulation. This award represents compensation for all damages that would be available
under 42 U.S.C. § 300aa-15(a).

        I approve a Vaccine Program award in the requested amount set forth above to be made to
Petitioner. In the absence of a motion for review filed pursuant to RCFC Appendix B, the Clerk
of the Court is directed to enter judgment herewith.4

       IT IS SO ORDERED.

                                                              s/ Katherine E. Oler
                                                              Katherine E. Oler
                                                              Special Master




4
  Pursuant to Vaccine Rule 11(a), the parties may expedite entry of judgment by jointly filing notice
renouncing their right to seek review.
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